Case 1-18-43445-ess Doc 26 Filed 11/06/18 Entered 11/06/18 17:51:22

Fill in this information to identif

Debtor 1 James Leroy Mason

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK, BROOKLYN
DIVISION

 

Case number 1:18-bk-43445 Check if this is:

(lf known)

 

Mi An amended filing

0 A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 re
Schedule I: Your Income 12115

 

 

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment

 

information. Debtor 1 Debtor 2 or non-filing spouse
Search employmentstaus YS! oe

information about additional Hi Not employed C1 Not employed

emplayers: Occupation

 

Include part-time, seasonal, or

self-employed work. Employer's name

 

Occupation may include student or Employer's address

homemaker, if it applies.

 

How long employed there?
Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 0.00 $ N/A
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ NIA
4. Calculate gross Income. Add line 2 + line 3. 4. 1$ 0.00 $ N/A

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page |
Debtor 1

10.

11.

12.

13.

Official Form 106]

Mason, James Leroy Case number (ifknown) 1:18-bk-43445
For Debtor 1 For Debtor 2 or
non-filing spouse

Copy line 4 here 4. §$ 0.00 N/A
List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. § 0.00 $ NIA
5b. Mandatory contributions for retirement plans 5b.  §$ 0.00 $ N/A
5c. Voluntary contributions for retirement plans 5c. §$ 0.00 $ N/A
5d. Required repayments of retirement fund loans 5d. §$ 0.00 $ N/A
5e. Insurance Se. $ 0.00 $ N/A
5f. | Domestic support obligations 5f. $ 0.00 $ N/A
5g. Union dues 5g. §$ 0.00 $§$ N/A
5h. Other deductions. Specify: 5ht+ $ 0.00 + $ N/A
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6 6 § 0.00 $ N/A
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. § 0.00 $ N/A
List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. 8a. §$ 0.00 $ N/A
8b. Interest and dividends 8b. §$ 0.00 $ N/A
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement. 8c. §$ 1,600.00 $ N/A
8d. Unemployment compensation 8d. § 0.00 $ N/A
8e. Social Security 8e. §$ 0.00 $ NIA
8f. | Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: sf. = § 0.00 $ NIA
8g. Pension or retirement income 8g. §$ 2,582.03 $ N/A
8h. Other monthly income. Specify: 8h.+ § 0.00 + $ N/A
Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h. 9. 1$ 4,182.03} |$ NIA
Calculate monthly income. Add line 7 + line 9. 10. | $ 4,182.03 | +| $ NIA}=|$ 4,182.03
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ 0.00
Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.| $ 4,182.03

Combined

Do you expect an increase or decrease within the year after you file this form?

a
O

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No.

 

 

 

 

 

monthly income

 

Yes. Explain: [|

 

Schedule I: Your Income

page 2
Case 1-18-43445-ess Doc 26 Filed 11/06/18 Entered 11/06/18 17:51:22

Fill in this information to identify your case

Debtor 1 James Leroy Mason Check if this is:
 Anamended filing

 

Debtor 2 1 A supplement showing postpetition chapter 13
(Spouse, if filing) expenses as of the following date:

 

United States Bankruptcy Court for the) EASTERN DISTRICT OF NEW YORK, MM/DD/ YYYY
BROOKLYN DIVISION

 

Casenumber 1:18-bk-43445

(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

 

1. Is this a joint case?

HH No. Go to line 2.
CX Yes. Does Debtor 2 live in a separate household?

ONo
O Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Householdof Debtor 2.

2. Doyouhave dependents? MH No

    

 

 

 

 

 

Do not list Debtor 1 and O yes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
me Se = eee 3 eas

Do not state the ONo
dependents names. 0 Yes

ONo

O Yes

CNo

0 Yes

ONo

O Yes

3. Do your expenses include Hi No

expenses of people other than

yourself and your dependents? C1 Yes

Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income

(Official Form 1061.) Your expenses
Re ee neon neater

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. 4. $ 4,156.11

If not included in line 4:

4a. Real estate taxes 4a. $ 331.59
4b. Property, homeowner’s, or renter’s insurance 4b. $ 82.25
4c. Home maintenance, repair, and upkeep expenses 4c. $ 49.90
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
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Debtor1 Mason, James Leroy

 

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Case number (if known) 1:18-bk-43445

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Utilities:

6a. Electricity, heat, natural gas 6a. $ 119.00

6b. Water, sewer, garbage collection 6b. §$ 33.49

6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 233.00

6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 100.00
8. Childcare and children’s education costs 8. §$ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 50.00
10. Personal care products and services 10. $ 20.00
11. Medical and dental expenses 11. $ 5.00
12. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments. 12. $ 80.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 50.00
14. Charitable contributions and religious donations 14. $ 7.00
15. Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a. $ 0.00

15b. Health insurance 15b. $ 204.29

15c. Vehicle insurance 15c. $ 139.16

15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
17. Installment or lease payments:

17a. Car payments for Vehicle 1 17a. $ 0.00

17b. Car payments for Vehicle 2 17b. $ 0.00

17c. Other. Specify: 17c. $ 0.00

17d. Other. Specify: 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061). 18. $ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00

Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property 20a. $ 0.00

20b. Real estate taxes 20b. $ 0.00

20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00

20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00

20e. Homeowner's association or condominium dues 20e. $ 0.00
21. Other: Specify: 21. +$ 0.00
22. Calculate your monthly expenses

22a. Add lines 4 through 21. $ 5,660.79

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $

22c. Add line 22a and 22b. The result is your monthly expenses. $ 5,660.79
23. Calculate your monthly net income.

23a. Copy line 12(your combined monthly income) from Schedule |. 23a. $ 4,182.03

23b. Copy your monthly expenses from line 22c above. 23b. -$ 5,660.79

. ir montht Nnses ly income.

(a za. |s AATB.76
24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

Bi No.

0 Yes. | Explain here:

Official Form 106J Schedule J: Your Expenses page 2
